                            Case 24-21209-LMI            Doc 150       Filed 12/20/24       Page 1 of 3




           ORDERED in the Southern District of Florida on December 20, 2024.




                                                                      Laurel M. Isicoff, Judge
                                                                      United States Bankruptcy Court
___________________________________________________________________________

                                       UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                MIAMI DIVISION
                                               www.flsb.uscourts.gov

           In re:                                                      Chapter 11

           SHIFTPIXY, INC. et, al. 1                                   Case No. 24-21209-LMI

                 Debtors.                                              (Jointly Administered)
           _______________________________/

               AGREED ORDER GRANTING CREDITOR, TACOS 2000, INC.’S MOTION FOR
               ORDER AUTHORIZING AND DIRECTING TO FILE CORRECTED WAGE AND
                           TAX STATEMENTS (FORM W-2C) [DE 124]

                    THIS MATTER came before the Court on December 16, 2024 at 9:30 a.m. on the

           hearing for the Creditor, Tacos 2000, Inc.’s, (“Creditor”) Expedited Motion for Order

           Authorizing and Directing Debtor to File Corrected Wage and Tax Statements (Form W-2C) (the

           “Motion”) [ECF No. 124]. The Court, having reviewed the Motion, and pleadings in this case,

           having heard arguments from counsel and being fully advised on the premises, it is hereby,


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             The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
           Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
               Case 24-21209-LMI        Doc 150     Filed 12/20/24      Page 2 of 3




       ORDERED, as follows:

       1.      The Motion is hereby GRANTED, as provided herein.

       2.      The Debtor is authorized and directed to prepare and file corrected 2019 Wage

and Tax Statements (“2019 Form W-2Cs”) on behalf of Creditor to correct the duplicative filed

Form W-2s filed in January, 2020 and again in February 2020 prior to the closing of the

anticipated sale of the Debtor’s assets and prior to the conversion of the instant proceeding to

Chapter 7.

       3.      Upon preparation of two corrected sets of 2019 Form W-2C’s, the Debtor shall

provide Creditor, and/or its professionals, with copies of the corrected documents for review and

approval prior to the filing of the 2019 Form W-2Cs with the Social Security Administration.

       4.      Upon approval by Creditor of the corrected 2019 Form W-2Cs, the Debtor shall

file the 2019 Form W-2Cs with the Social Security Administration, in accordance with the

instructions and in the order directed by Creditor and/or its professionals. The 2019 Form W-2Cs

shall be filed with the Social Security Administration before the conversion of this case but in no

event after December 24, 2024. The Debtor shall immediately provide pdf copies of filed 2019

Form W-2Cs to Creditor and/or its professionals.

       5.      Creditor agrees to indemnify Jonathan Feldman, CRO, and the bankruptcy estate

for liability resulting from the filing of the corrected 2019 Form-W2Cs. This indemnification is

limited to the filing of corrected 2019 Form-W2Cs referenced in this Order and shall not in any

way release or waive any of Creditor’s claims against the Debtor or the bankruptcy estate nor

shall it be interpreted to indemnify the CRO or the bankruptcy estate of any other liability.
              Case 24-21209-LMI         Doc 150       Filed 12/20/24    Page 3 of 3




       6.      The Court authorizes and approves the agreement between Debtor and Creditor

memorializing their joint/common interest in the preparation of the Form-W2C’s and sharing of

information and professional advice relating thereto.

       7.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

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Submitted by:
Leyza B. Florin
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Counsel for the Creditor, Tacos 2000, Inc.
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Miami, FL 33131
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[Leyza B. Florin, Esq. is directed to provide a copy of this signed Order to all parties of record
and to file a Certificate of Service conforming with Local Rule 2002-1(F), within 3 days of entry
of this Order]




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